                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
        v.                                     )         CASE NO. 1:13-CR-89
                                               )
 GUY L. WILKERSON, JR.                         )



                                             ORDER

        On January 14, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute a mixture and substance

 containing a detectable amount of cocaine, a Schedule II controlled substance, in violation of 21

 USC '' 846, 841(a)(1) and (b)(1)(C), in exchange for the undertakings made by the government in

 the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the

 lesser included offense in Count One of the Indictment; (c) that a decision on whether to accept the

 plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter (Doc. 170). Neither party filed an objection within the given fourteen

 days. After reviewing the record, the Court agrees with the magistrate judge=s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

 report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included




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 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 April 14, 2014, at 2:00 pm.

        SO ORDERED.

        ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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